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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                       :
JAKUB MADEJ                                            :
                                                       :       CIVIL ACTION NO.
                       PLAINTIFF                       :       3:20-cv-00133-JCH
                                                       :
v.                                                     :
                                                       :
YALE UNIVERSITY, MARVIN CHUN,                          :
MARK SCHENKER, PETER SALOVEY AND                       :
JESSIE ROYCE HILL                                      :
                                                       :
                       DEFENDANTS                      :
                                                       :       DECEMBER 7, 2020

 MOTION FOR EXPEDITED RULING ON MOTION TO QUASH AND MOTION FOR
                 ORDER REGARDING DEPOSITIONS

       The defendants hereby move for an expedited ruling on their Motion to Quash and Motion

for Order Regarding Depositions. The depositions at issue were initially noticed by the plaintiff

on November 30, 2020 and are scheduled to occur on December 14, 16, and 18, 2020. Since

December 1, 2020, defense counsel has attempted to reach an agreement with the plaintiff as to

the manner of conducting the depositions. While the plaintiff and defense counsel agreed that the

depositions would be conducted via Zoom, the plaintiff has refused to agree that he will follow the

Federal Rules of Civil Procedure. Specifically, he insists on administering the oath to Yale’s

witnesses and to record the deposition testimony himself, declining to agree that the depositions

would be held before a qualified court stenographer. After attempting to get the plaintiff’s

agreement to follow the normal rules through several e-mails, defense counsel last e-mailed the

plaintiff on Thursday, December 3, 2020 and informed the plaintiff that he would be filing a motion

to quash if the plaintiff did not indicate his agreement to follow the rules by the end of the weekend.

As of the filing of the defendants’ Motion to Quash and Motion for Order Regarding Deposition
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more than four days later, the plaintiff has not responded to defense counsel’s e-mail. Since the

depositions are scheduled to occur in one week, the defendants request an expedited ruling on their

Motion to Quash and Motion for Order Regarding Depositions.




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
                                                PATRICK M. NOONAN – CT00189
                                                COLLEEN NOONAN DAVIS – CT27773
                                                DONAHUE, DURHAM & NOONAN, P.C.
                                                Concept Park
                                                741 Boston Post Road, Suite 306
                                                Guilford, CT 06437
                                                Telephone: (203) 458-9168
                                                Fax: (203) 458-4424
                                                Email: pnoonan@ddnctlaw.com




                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan




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